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                                6   Attorneys for Plaintiff
                                    Paul Azarian
                                7
                                8                         UNITED STATES DISTRICT COURT
                                9                       CENTRAL DISTRICT OF CALIFORNIA
                               10
                               11   PAUL AZARIAN,                              Case No.
                               12
                                                       Plaintiff.              COMPLAINT FOR DAMAGES
Northridge, California 91324




                               13
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                                          vs.                                  (1)    BREACH OF CONTRACT
       (818) 886 2525




                               14
                                                                               (2)    BREACH OF THE IMPLIED
                               15                                                     COVENANT OF GOOD
                                    RIVERSOURCE LIFE INSURANCE                        FAITH AND FAIR DEALING
                               16   COMPANY,
                                                                               DEMAND FOR JURY TRIAL
                               17                      Defendant.
                               18
                               19         Plaintiff Paul Azarian herein sets forth the allegations of his Complaint
                               20   against Defendant RiverSource Life Insurance Company.
                               21
                               22                             PRELIMINARY ALLEGATIONS
                               23         1.     Jurisdiction is based on diversity of citizenship pursuant to 28 U.S.C.
                               24   § 1332. The amount in controversy, exclusive of interest and costs, exceeds the sum
                               25   of $75,000.00.
                               26         2.     Venue is proper in this Court based upon 28 U.S.C. § 1391(a).
                               27         3.     Plaintiff is informed and believes that Defendant RiverSource Life
                               28   Insurance Company (“RiverSource”) is a corporation incorporated in and with its

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                                                                       COMPLAINT
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                                1   principal place of business in the State of Minnesota, authorized to transact and
                                2   transacting business in the Central District of California and can be found in the
                                3   Central District of California.
                                4          4.     Plaintiff Paul Azarian is a resident and citizen of the town of Beverly
                                5   Hills, County of Los Angeles, State of California.
                                6
                                7                        FIRST CLAIM FOR RELIEF AGAINST
                                8          DEFENDANT RIVERSOURCE LIFE INSURANCE COMPANY
                                9                             FOR BREACH OF CONTRACT
                               10          5.     Plaintiff incorporates by reference all preceding paragraphs as though
                               11   set fully set forth herein.
                               12          6.     Effective October 2, 1996, RiverSource (through its corporate
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                               13   predecessor, IDS Life Insurance Company) issued to Plaintiff individual life
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                               14   insurance coverage pursuant to an insurance policy, Policy Number 9090-
                               15   05317529 (hereinafter the “Policy”).
                               16          7.     Pursuant to the Policy terms, Plaintiff was entitled to waiver of his life
                               17   insurance premiums (“LWOP”) due under the Policy for and so long as he
                               18   remained disabled as defined by the Policy and applicable law.
                               19          8.     All premiums due to maintain Plaintiff’s coverage in full force and
                               20   effect under the Policy have been paid or should have been waived pursuant to the
                               21   Policy’s LWOP provision. At all relevant times, Plaintiff has performed all
                               22   obligations under the Policy on his part to be performed.
                               23          9.     Plaintiff suffers from multiple sclerosis. He was diagnosed with the
                               24   condition over ten years ago, and his condition has continuously deteriorated since
                               25   his original diagnosis.
                               26          10.    In or prior to 2014, Plaintiff suffered a loss compensable under the
                               27   terms of the Policy in that, because of his multiple sclerosis, he became unable to
                               28   engage with reasonable continuity in his own or any other occupation in which he
                                                                            2
                                                                        COMPLAINT
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                                1   could reasonably be expected to perform satisfactorily in light of his age,
                                2   education, training, experience, station in life, and physical and mental capacity.
                                3         11.    Thereafter, Plaintiff remained disabled as defined by the Policy and
                                4   applicable law.
                                5         12.    Plaintiff has life insurance coverage through another insurer,
                                6   Northwestern Life Insurance Company (“Northwestern”). That policy has a LWOP
                                7   benefit provision similar to the LWOP benefit provision in the Policy.
                                8         13.    In 2017, Plaintiff submitted a claim for LWOP benefits under his
                                9   Northwestern policy to Northwestern.
                               10         14.    In response, Northwestern approved Plaintiff’s claim for benefits and
                               11   waived his premiums under his Northwestern policy on the ground that he was
                               12   disabled and entitled to the LWOP benefit under that policy.
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                               13         15.    In July of 2017, Plaintiff submitted to RiverSource a claim for LWOP
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                               14   benefits under the Policy.
                               15         16.    On May 3, 2018, RiverSource wrote to Plaintiff and denied his claim
                               16   for LWOP benefits under the Policy on the ground that his claim was untimely.
                               17         17.    RiverSource denied Plaintiff’s claim even though it was obligated
                               18   under California’s notice-prejudice rule of insurance law to conduct an
                               19   investigation of Plaintiff’s claim.
                               20         18.    As a direct and proximate result of RiverSource’s improper
                               21   determination regarding Plaintiff’s continued disability, Plaintiff has been deprived
                               22   of the right to obtain LWOP benefits under the terms of the Policy, and has been
                               23   unable to maintain coverage under the Policy.
                               24         19.    RiverSource’s conduct constitutes a breach of the insurance contract
                               25   between RiverSource and Plaintiff. As a direct and proximate result of
                               26   RiverSource’s breach of the Policy, Plaintiff has suffered contractual damages
                               27   under the terms and conditions of the Policy that will continue, plus interest and
                               28
                                                                              3
                                                                          COMPLAINT
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                                1   other incidental damages and out-of-pocket expenses, all in the sum to be
                                2   determined according to proof at the time of trial.
                                3
                                4                             SECOND CLAIM FOR RELIEF
                                5    AGAINST DEFENDANT RIVERSOURCE LIFE INSURANCE COMPANY
                                6     FOR BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND
                                7                                      FAIR DEALING
                                8          20.    Plaintiff incorporates by reference all preceding paragraphs as though
                                9   set fully set forth herein.
                               10          21.    RiverSource has breached its duty of good faith and fair dealing owed
                               11   to Plaintiff in the following respects:
                               12          (a)    Unreasonably withholding benefits from Plaintiff in bad faith at a time
Northridge, California 91324
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                               13                 when RiverSource knew Plaintiff was entitled to said full benefits
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                               14                 under the Policy;
                               15          (b)    Unreasonably failing to properly investigate Plaintiff’s claim;
                               16          (c)    Intentionally and unreasonably applying pertinent policy provisions so
                               17                 as to limit RiverSource’s financial exposure and contractual
                               18                 obligations and to maximize profits; and
                               19          (d)    Unreasonably compelling Plaintiff to institute litigation to recover
                               20                 benefits due under the policy in an effort to further discourage
                               21                 Plaintiff from pursuing his full policy benefits.
                               22          22.    Plaintiff is informed and believes and thereon alleges that
                               23   RiverSource has breached its duties of good faith and fair dealing owed to Plaintiff
                               24   by other acts or omissions of which Plaintiff is presently unaware. Plaintiff will
                               25   amend this Complaint at such time as Plaintiff discovers these other acts or
                               26   omissions.
                               27          23.    As a proximate result of the aforementioned wrongful conduct of
                               28   RiverSource, Plaintiff has suffered, and will continue to suffer in the future,
                                                                            4
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                                1   damages under the Policy, plus interest, for a total amount to be shown at the time
                                2   of trial.
                                3          24.   As a further proximate result of the aforementioned wrongful conduct
                                4   of RiverSource, Plaintiff has suffered anxiety, worry, mental, and emotional
                                5   distress, and other incidental damages and out-of-pocket expenses, all to Plaintiff’s
                                6   general damage in a sum to be determined at the time of trial.
                                7          25.   As a further proximate result of the aforementioned wrongful conduct
                                8   of RiverSource, Plaintiff was compelled to retain legal counsel to obtain the
                                9   benefits due under the Policy. Therefore, RiverSource is liable to Plaintiff for those
                               10   attorneys’ fees reasonably necessary and incurred by Plaintiff to obtain Policy
                               11   benefits in a sum to be determined at the time of trial.
                               12          26.   RiverSource’s conduct described herein was intended by RiverSource
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                               13   to cause injury to Plaintiff, was despicable conduct carried on by RiverSource with
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                               14   a willful and conscious disregard of the rights of Plaintiff, subjected Plaintiff to
                               15   cruel and unjust hardship in conscious disregard of his rights, and was an
                               16   intentional misrepresentation, deceit, or concealment of a material fact known to
                               17   RiverSource with the intention to deprive Plaintiff of property and/or legal rights or
                               18   to otherwise cause injury, such as to constitute malice, oppression, or fraud under
                               19   California Civil Code § 3294, thereby entitling Plaintiff to punitive damages in an
                               20   amount appropriate to punish or set an example of RiverSource.
                               21          27.   RiverSource’s conduct in wrongfully terminating and denying benefits
                               22   to Plaintiff was an unfair act and practice which caused Plaintiff to suffer a loss of
                               23   life insurance benefits, a substantial loss of property set aside for personal care and
                               24   maintenance, and assets essential to his health and welfare. Plaintiff is a disabled
                               25   person within the meaning of California Civil Code § 3345, and as a consequence
                               26   of RiverSource’s wrongful actions herein, Plaintiff is entitled to a trebling of any
                               27   damages imposed by the trier of fact pursuant to California Civil Code § 3294.
                               28
                                                                            5
                                                                        COMPLAINT
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                                1                                 REQUEST FOR RELIEF
                                2         WHEREFORE, Plaintiff prays for judgment against Defendant RiverSource
                                3   Life Insurance Company as follows:
                                4         1.     All benefits due Plaintiff under the Policy, including reinstatement of
                                5   his coverage under the Policy, as well as waiver of his premiums under the Policy
                                6   from the date of his disability forward;
                                7         2.     General damages for mental and emotional distress and other
                                8   incidental damages in the sum of $1,000,000.00;
                                9         3.     Punitive and exemplary damages in an amount in excess of
                               10   $5,000,000.00;
                               11         4.     A trebling of any punitive damages pursuant to California Civil Code
                               12   § 3345;
Northridge, California 91324




                                                 Attorneys’ fees reasonably incurred to obtain Policy benefits in a sum
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                               13         5.
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                               14   to be determined at the time of trial;
                               15         6.     Costs of suit incurred herein; and
                               16         7.     Such other and further relief as the Court deems just and proper.
                               17
                               18   DATED: September 5, 2018                       KANTOR & KANTOR, LLP
                               19
                                                                             BY: /s/ Glenn R. Kantor
                               20                                                 Glenn R. Kantor
                                                                                  Attorneys for Plaintiff
                               21                                                 Paul Azarian
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                                                                        COMPLAINT
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                                1                            DEMAND FOR JURY TRIAL
                                2
                                3        Plaintiff hereby demands a trial by jury.
                                4
                                5   DATED: September 5, 2018                    KANTOR & KANTOR, LLP
                                6
                                                                          BY: /s/ Glenn R. Kantor
                                7                                              Glenn R. Kantor
                                                                               Attorneys for Plaintiff
                                8                                              Paul Azarian
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                                                                     COMPLAINT
